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  11 Attorneys for Defendants Hyundai Motor
     Company, Ltd., Hyundai Motor America,
  12 Inc., Kia America, Inc., and Kia
     Corporation
  13
                            UNITED STATES DISTRICT COURT
  14
             CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  15
     DAVY CHO, BRYAN ROTHMALER, Case No. 8:22-cv-00448-SPG-KESx
  16 BETH MAKIE, ANNA CHMURA,
     ANTHONY BANDERAS, MICHELLE DECLARATION OF SHON
  17 SMITH, CATHERINE LITTLE,               MORGAN
     LUTICIA THOMPSON, and THOMAS
  18 THOMPSON, on behalf of themselves      Date: October 12, 2022
     and all others similarly situated,     Time: 1:30 p.m.
  19
                  Plaintiffs,
  20        vs.                             The Hon. Sherilyn Peace Garnett
  21 HYUNDAI MOTOR COMPANY,                  Trial Date: None Set
     LTD., HYUNDAI MOTOR
  22 AMERICA, INC., KIA AMERICA,
     INC., and KIA MOTORS
  23 CORPORATION,
  24              Defendants.
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                                                             Case No. 8:22-cv-00448-SPG-KES
                                                            SHON MORGAN DECLARATION
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   1        I, Shon Morgan, declare as follows:
   2        1.     I am a partner at the law firm of Quinn Emanuel Urquhart & Sullivan,
   3 LLP and I represent defendants Hyundai Motor Company, Ltd., Hyundai Motor
   4 America, Inc., Kia America, Inc., and Kia Corporation. I make this declaration of
   5 personal, firsthand knowledge, and if called and sworn as a witness, I could and would
   6 testify competently thereto.
   7        2.     A true and correct copy of the Settlement Agreement and Release
   8 between Anthony Banderas and Hyundai Motor America, Inc., dated September 6,
   9 2022 is attached hereto as Exhibit 1. Some portions have been redacted to omit
  10 Anthony Banderas’ e-mail address and phone number, as well as Hyundai Motor
  11 America, Inc.’s phone number and the settlement amount.
  12        I declare under penalty of perjury that the foregoing is true and correct.
  13
  14        Executed this 28th day of September, 2022, at Los Angeles, California.
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                                               /s/ Shon Morgan
  18
                                               Shon Morgan
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                                                                   SHON MORGAN DECLARATION
